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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                            )
                    Plaintiff,                       )
                                                     )
                v.                                   )       Criminal No. 23-CR-239 (CKK)
                                                     )
ILYA LICHTENSTEIN, et al.,                           )
                                                     )
                               Defendants.           )
                                                     )


                      NOTICE OF CRIMINAL FORFEITURE ACTION


         On November 14, 2024, a District Court Judge for the United States District Court for the

District of Columbia issued a Second Amended Preliminary Order of Forfeiture and on

December 11, 2024 issued a Minute Order granting a Corrected Second Amended Attachment A

against the properties described in the Corrected Second Amended Attachment A (the

“Defendant Properties”).

         The Defendant Properties are subject to forfeiture pursuant to 18 U.S.C. § 982(a)(1) as

property involved in and traceable to violations of 18 U.S.C. § 1956(h), and the Defendant

Properties are subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

as property constituting or derived from proceeds traceable to violations of 18 U.S.C. § 371.

          Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, direct notice of this

action, along with a copy of the Second Amended Preliminary Order of Forfeiture and Corrected

Second Amended Attachment A, are being sent to potential claimants via FedEx and electronic

mail.
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       Any party who intends to assert an interest in any of the Defendant Properties and to contest

the forfeiture in court must file an Ancillary Petition in the United States District Court, District

of Columbia, 333 Constitution Avenue, NW, Washington, D.C. 20001, under the case title listed

above, 1:23-CR-00239-CKK, within 30 days of receipt of this Notice, pursuant to 21 U.S.C. §

853(n)(2).

       Ancillary Petitions are to be filed with the Clerk, United States District Court for the

District of Columbia at the above address, with a copy thereof served on the undersigned Assistant

United States Attorney Rick Blaylock, at the address listed below.

       Alternatively, any party who intends to seek the return of property may file a petition for

remission or mitigation. A petition for remission or mitigation is considered by the Department

of Justice, not the Court. The petition process is further detailed in the attached Code of Federal

Regulations. A petition for remission or mitigation must be submitted within 30 days of the date

notice is received. A blank petition for remission is enclosed. You may file a petition for remission

or mitigation online at ocp.forfeiture.gov/OnlineClaimsPetitions/petition.

       The filing of a petition for remission or mitigation does not serve as a substitute for filing

an Ancillary Petition; nor does the filing of an Ancillary Petition serve as a substitute for filing a

petition for remission or mitigation.

                                               Sincerely,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY

                                        By:     /s/ Rick Blaylock Jr.
                                               Rick Blaylock Jr.
                                               Assistant United States Attorney
                                               Christopher B. Brown
                                               Special Assistant United States Attorney
                                               United States Attorney’s Office
                                               601 D Street, N.W.



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                                  Washington, D.C. 20530
                                  (202) 252-6765 (Blaylock)
                                  (202) 353-0018 (Brown)
                                  Rick.Blaylock.Jr@usdoj.gov
                                  Christopher.Brown9@usdoj.gov


                                  /s/ Jessica Peck
                                  Jessica Peck
                                  C. Alden Pelker
                                  Trial Attorneys, U.S. Department of Justice
                                  Computer Crime & Intellectual Property Section
                                  1301 New York Ave., N.W., Suite 600
                                  Washington, D.C. 20005
                                  (202) 353-9455 (Peck)
                                  (202) 616-5007 (Pelker)
                                  Jessica.Peck@usdoj.gov
                                  Catherine.Pelker@usdoj.gov

December 17, 2024




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                                   Sincerely,

                                   MATTHEW M. GRAVES
                                   United States Attorney

                             By:    /s/ Rick Blaylock Jr.
                                   Rick Blaylock Jr.
                                   Assistant United States Attorney
                                   Christopher B. Brown
                                   Special Assistant United States Attorney
                                   United States Attorney’s Office
                                   601 D Street, N.W.
                                   Washington, D.C. 20530
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                                   (202) 353-0018 (Brown)
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                                   /s/ Jessica Peck
                                   Jessica Peck
                                   C. Alden Pelker
                                   Trial Attorneys, U.S. Department of Justice
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Enclosures
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
         COURT CASE NUMBER: 1:23-CR-00239; NOTICE OF FORFEITURE

       Notice is hereby given that on November 14, 2024, in the case of U.S. v. Ilya
Lichtenstein and Heather Rhiannon Morgan, Court Case Number 1:23-CR-00239, the
United States District Court for the District of Columbia entered an Order condemning
and forfeiting the following property to the United States of America:

     Approximately 94,643.29837084 Bitcoin (BTC) (after required fees) seized from
     wallets recovered from Defendants' online storage account (22-IRS-000070),
     which was seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about
     February 04, 2022
     Approximately 117,376.52651940 Bitcoin Cash (BCH) (after required fees)
     seized from wallets recovered from Defendants' online storage account
     (22-IRS-000071), which was seized from Ilya Lichtenstein and Heather Rhiannon
     Morgan on or about February 04, 2022
     Approximately 117,376.58178024 in Bitcoin Satoshi Vision (BSV) (after required
     fees) seized from wallets recovered from Defendants' online storage account
     (22-IRS-000072), which was seized from Ilya Lichtenstein and Heather Rhiannon
     Morgan on or about February 04, 2022
     Approximately 118,102.03258447 in Bitcoin Gold (BTG) (after required fees)
     seized from wallets recovered from Defendants' online storage account
     (22-IRS-000073), which was seized from Ilya Lichtenstein and Heather Rhiannon
     Morgan on or about February 04, 2022
     $43,354 in U.S. Currency (22-IRS-000074), which was seized from Ilya
     Lichtenstein and Heather Rhiannon Morgan on or about January 05, 2022 at 75
     Wall Street, Apartment 33M, New York, NY 10005
     Assorted U.S. and Canadian gold coins, worth between approximately $160,000
     and $300,000, which were excavated and recovered by law enforcement from
     LOCATION 1, a premises in California known to the Defendants and the
     Government (22-IRS-000496), which was seized from Ilya Lichtenstein and
     Heather Rhiannon Morgan on or about April 13, 2022 at LOCATION 1, California
     Approximately 2,818.199 BTC (after required fees) seized from wallets recovered
     from Defendants' online storage account (23-FBI-007297), which was seized from
     Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20, 2023
     Approximately 12,267.025 BTC (after required fees) seized from wallets
     contained on an external hard drive that was recovered from the Defendants'
     residence at 75 Wall Street, Apartment 33M, New York, NY 10005
     (23-FBI-007298), which was seized from Ilya Lichtenstein and Heather Rhiannon
     Morgan on or about July 20, 2023
     Approximately 1,155.901 BTC (after required fees) seized from wallets recovered
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 from Defendants' online storage account. Those wallets were also contained on an
 external hard drive that was recovered from the Defendants' residence at 75 Wall
 Street, Apartment 33M, New York, NY 10005 (23-FBI-007299), which was seized
 from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20, 2023
 Approximately 290,729 USDT (after required fees) seized from wallets recovered
 from Defendants' online storage account. Those wallets were also contained on an
 an external hard drive that was recovered from the Defendants' residence at 75
 Wall Street, Apartment 33M, New York, NY 10005 (23-FBI-007300), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20,
 2023
 Approximately 5,990 USDT (after required fees) seized from wallets contained on
 an external hard drive that was recovered from the Defendants' residence at 75
 Wall Street, Apartment 33M, New York, NY 10005 (23-FBI-007301), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20,
 2023
 Approximately 1000.06 in Ether (ETH) (after required fees) seized from wallets
 recovered from Defendants' online storage account (23-FBI-007302), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20,
 2023
 Approximately 1,030,436.50 aUSDT (after required fees) seized from wallets
 recovered from Defendants' online storage account. Those wallets were also
 contained on an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York 10005 (23-FBI-007303),
 which was seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about
 July 20, 2023
 Approximately 7.998 BTC (after required fees) seized from wallets contained on
 an external hard drive that was recovered from the Defendants' residence at 75
 Wall Street, Apartment 33M, New York, NY 10005 (23-FBI-007306), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20,
 2023
 Approximately 1,770.049 ETH (after required fees) seized from wallets contained
 on an external hard drive that was recovered from the Defendants' residence at 75
 Wall Street, Apartment 33M, New York, NY 10005 (23-FBI-007307), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20,
 2023
 Approximately 1,401.567 ETH (after required fees) seized from wallets recovered
 from Defendants' online storage account (23-FBI-007308), which was seized from
 Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20, 2023
 Approximately 1,066 in Wrapped Ether (WETH) (after required fees) seized from
 wallets recovered from Defendants' online storage account. Those wallets were
 also contained in an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York, NY 10005
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 (23-FBI-007309), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about July 20, 2023
 Approximately 264.863 BTC (after required fees) seized from wallets contained
 on an external hard drive that was recovered from the Defendants' residence at 75
 Wall Street, Apartment 33M, New York, NY 10005 (23-FBI-007439), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20,
 2023
 Approximately 0.196 BTC (after required fees) seized from wallets contained on
 an external hard drive that was recovered from the Defendants' residence at 75
 Wall Street, Apartment 33M, New York, NY 10005 (23-FBI-007440), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20,
 2023
 Approximately 901,014 USDC (after required fees) seized from wallets recovered
 from Defendants' online storage account. Those wallets were also contained on an
 external hard drive that was recovered from the Defendants' residence at 75 Wall
 Street, Apartment 33M, New York, NY 10005 (23-FBI-007494), which was seized
 from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20, 2023
 Approximately 1,767.624 ETH (after required fees) seized from wallets contained
 on an external hard drive that was recovered from the Defendants' residence at 75
 Wall Street, Apartment 33M, New York, NY 10005 (23-FBI-007509), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20,
 2023
 Approximately 2.42401 in BTC (after required fees) seized from wallets recovered
 from Defendants' online storage account. Those wallets were also contained on an
 external hard drive that was recovered from the Defendants' residence at 75 Wall
 Street, Apartment 33M, New York, NY 10005 (23-FBI-007511), which was seized
 from Ilya Lichtenstein and Heather Rhiannon Morgan on or about July 20, 2023
 Approximately 17,572,068.53 aUSDC (after required fees) seized from wallets
 recovered from Defendants' online storage account. Those wallets were also
 contained on an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York, NY 10005
 (23-FBI-007514), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan
 Approximately 3,542,129.56 Yearn Vault USDT (yvUSDT) (after required fees)
 seized from wallets recovered from Defendants' online storage account. Those
 wallets were also contained on an external hard drive that was recovered from the
 Defendants' residence at 75 Wall Street, Apartment 33M, New York, NY 10005
 (23-FBI-007515), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan
 Approximately $2,460,375.00 seized from the Flagstar bank account
 corresponding to Signature Bank account number 1503814168 (23-IRS-000901),
 which was seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about
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 May 30, 2023 at Flagstar Bank, N.A.
 Approximately $352,381.55 seized from Wells Fargo bank account number
 5361262370 (23-IRS-000902), which was seized from Ilya Lichtenstein and
 Heather Rhiannon Morgan on or about May 16, 2023 at Wells Fargo Bank, N.A.
 Approximately $228,266.02 seized from JPMorgan Chase bank account number
 877916952 (23-IRS-000903), which was seized from Ilya Lichtenstein and
 Heather Rhiannon Morgan on or about May 01, 2023 at JPMorgan Chase Bank
 Approximately 71.9992991 Ethereum Classic (after required fees) seized from
 wallets recovered from an online storage account & an external hard drive
 recovered from the residence at 75 Wall Street, Apartment 33M, New York 10005
 (24-FBI-008216), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about January 26, 2024
 Approximately 2,088,133.214436 USDT tokens (USDT) (after required fees)
 seized from wallets recovered from the Defendants' online storage account
 (24-FBI-008263), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about December 18, 2023
 Approximately 8,984,961.413084 USDC tokens (USDC) (after required fees)
 seized from wallets recovered from the Defendants' online storage account
 (24-FBI-008264), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about December 18, 2023
 Approximately 18.50708 Ether (ETH) (after required fees) seized from wallets
 recovered from Defendants' online storage account (24-FBI-008265), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about
 December 18, 2023
 Approximately 153.369826 stkAAVE (after required fees) seized from wallets
 recovered from Defendants' online storage account (24-FBI-008266), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about
 December 18, 2023
 Approximately 128,337.930125 CRV (after required fees) seized from wallets
 recovered from Defendants' online storage account (24-FBI-008268), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about
 December 18, 2023
 Approximately 5,364,110.706859 DAI (after required fees) seized from wallets
 recovered from Defendants' online storage account (24-FBI-008269), which was
 seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about
 December 18, 2023
 Approximately 925.8408005 Bitcoin (after required fees) seized from wallets
 recovered from Defendant's online storage account. Those wallets were also
 contained in an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York, NY 10005
 (25-FBI-000217), which was seized from Ilya Lichtenstein and Heather Rhiannon
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 Morgan on or about October 27, 2023
 Approximately 369.1226146 Bitcoin (after required fees) seized from wallets
 recovered from Defendant's online storage account. Those wallets were also
 contained in an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York, NY 10005
 (25-FBI-000218), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about October 31, 2023
 Approximately 168.133162 Bitcoin (after required fees) seized from wallets
 recovered from Defendant's online storage account. Those wallets were also
 contained in an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York, NY 10005
 (25-FBI-000219), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about November 17, 2023
 Approximately 287.916982 Bitcoin (after required fees) seized from wallets
 recovered from Defendant's online storage account. Those wallets were also
 contained in an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York, NY 10005
 (25-FBI-000220), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about November 20, 2023
 Approximately 517.84913 Bitcoin (after required fees) seized from wallets
 recovered from Defendant's online storage account. Those wallets were also
 contained in an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York, NY 10005
 (25-FBI-000221), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about November 21, 2023
 Approximately 840.5640305 Bitcoin (after required fees) seized from wallets
 recovered from Defendant's online storage account. Those wallets were also
 contained in an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York, NY 10005
 (25-FBI-000222), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about November 22, 2023
 Approximately 77.87556314 Bitcoin (after required fees) seized from wallets
 recovered from Defendant's online storage account. Those wallets were also
 contained in an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York, NY 10005
 (25-FBI-000223), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about November 29, 2023
 Approximately 177.909315 Ethereum (after required fees) seized from wallets
 recovered from Defendant's online storage account. Those wallets were also
 contained in an external hard drive that was recovered from the Defendants'
 residence at 75 Wall Street, Apartment 33M, New York, NY 10005
 (25-FBI-000224), which was seized from Ilya Lichtenstein and Heather Rhiannon
 Morgan on or about November 29, 2023
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      Approximately 67.73298035 Bitcoin (after required fees) seized from wallets
      recovered from Defendant's online storage account. Those wallets were also
      contained in an external hard drive that was recovered from the Defendants'
      residence at 75 Wall Street, Apartment 33M, New York, NY 10005
      (25-FBI-000225), which was seized from Ilya Lichtenstein and Heather Rhiannon
      Morgan on or about January 11, 2024
      Approximately 120.3560735 Bitcoin (after required fees) seized from wallets
      recovered from Defendant's online storage account. Those wallets were also
      contained in an external hard drive that was recovered from the Defendants'
      residence at 75 Wall Street, Apartment 33M, New York, NY 10005
      (25-FBI-000226), which was seized from Ilya Lichtenstein and Heather Rhiannon
      Morgan on or about January 18, 2024
      Approximately 65.7115558 Bitcoin (after required fees) seized from wallets
      recovered from Defendant's online storage account. Those wallets were also
      contained in an external hard drive that was recovered from the Defendants'
      residence at 75 Wall Street, Apartment 33M, New York, NY 10005
      (25-FBI-000227), which was seized from Ilya Lichtenstein and Heather Rhiannon
      Morgan on or about January 25, 2024
      Approximately 841.3236683 Ethereum (after required fees) seized from wallets
      recovered from an online storage account & an external hard drive recovered from
      the residence at 75 Wall Street, Apartment 33M, New York (25-FBI-000228),
      which was seized from Ilya Lichtenstein and Heather Rhiannon Morgan on or about
      January 26, 2024

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must
file an ancillary petition within 60 days of the first date of publication (December 17,
2024) of this Notice on this official government internet web site, pursuant to Rule 32.2 of
the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary
petition must be filed with the Clerk of the Court, 333 Constitution Ave., NW, Washington,
DC 20001, and a copy served upon Assistant United States Attorney Rick Blaylock, 601
D Street, N.W., Washington, DC 20530. The ancillary petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of
the petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such
petitions are filed, following the expiration of the period specified above for the filing of
such ancillary petitions, the United States shall have clear title to the property and may
warrant good title to any subsequent purchaser or transferee.

       The government may also consider granting petitions for remission or
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mitigation, which pardon all or part of the property from the forfeiture. A petition must
include a description of your interest in the property supported by documentation;
include any facts you believe justify the return of the property; and be signed under
oath, subject to the penalty of perjury, or meet the requirements of an unsworn
statement under penalty of perjury. See 28 U.S.C. Section 1746. For the regulations
pertaining to remission or mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9.
The criteria for remission of the forfeiture are found at 28 C.F.R. Section 9.5(a). The
criteria for mitigation of the forfeiture are found at 28 C.F.R. Section 9.5(b). The
petition for remission need not be made in any particular form and may be filed online
or in writing. You should file a petition for remission not later than 11:59 PM EST 30
days after the date of final publication of this notice. See 28 C.F.R. Section 9.3(a).
The https://www.forfeiture.gov/FilingPetition.htm website provides access to a
standard petition for remission form that may be mailed and the link to file a petition
for remission online. If you cannot find the desired assets online, you must file your
petition for remission in writing by sending it to Assistant United States Attorney Rick
Blaylock, 601 D Street, N.W., Washington, DC 20530. This website provides
answers to frequently asked questions (FAQs) about filing a petition for remission.
You may file both an ancillary petition with the court and a petition for remission or
mitigation.
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                  EXHIBIT A-6
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  PETITION FOR REMISSION OR MITIGATION OF A CRIMINAL OR CIVIL
FORFEITURE ACTION BY THE UNITED STATES DEPARTMENT OF JUSTICE
Note: This is a sample to assist potential petitioners. There is no legal form or format required for filing a petition. For more
specific guidance on filing your petition, please consult Title 28, Code of Federal Regulations (C.F.R.) Section 9.4, which can be
found at www.GPOaccess.gov.

To: The Attorney General of the United States

From:


(Name and address of petitioner or petitioner's attorney or representative)


(Social Security Number / Taxpayer Identification Number of Petitioner)



Phone Number                                                        Email Address

I am petitioning for the remission of the property described below because I am (check all that
apply):

    a victim of the crime underlying the forfeiture of the forfeited property, or related offense
    (complete Sections I, III, and V);

    an owner of the forfeited property (complete Sections I, II and V); and/or

    a lienholder of the forfeited property (complete Sections I, II, and V).

If you would like to petition for the mitigation of the property (return of part of your interest in the
property or return upon the imposition of certain conditions) because of extreme hardship, you must
also complete Section IV.

SECTION I

Description of Property (include specific information such as make, model, or serial numbers if
applicable):



Seizing Agency:
Seizure Number/Asset ID Number:
Date and Place of Seizure:
Court Case Information

Case Name:
Case Number:
Judicial District:
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SECTION II
Request for Remission - Owner or Lienholder

This section should be completed by persons claiming an ownership interest in the property.

I am requesting remission of this forfeiture pursuant to 28 C.F.R. § 9.5(a) because I have a valid,
good faith, and legally cognizable interest in the seized property as owner or lienholder as
described below:




Provide supporting documentation such as bills of sale, retail installment agreements, contracts,
certificates of title, or mortgages.

AND

1. ___ I am innocent within the meaning of the innocent owner standard as provided in Title 18
   U.S. Code Section 983(d), because:

     ___ I did not know of the conduct giving rise to the forfeiture; or

     ___ Upon learning of the conduct giving rise to the forfeiture, I did all that reasonably could be
     expected under the circumstances to terminate such use of the property.

Please explain answer:


OR

2. ___ I was a bona fide purchaser or seller of the forfeited property for value without cause to
   believe that the property was subject to forfeiture at the time of the offense underlying the
   forfeiture.

OR

3. ___ I held a legally cognizable interest in the forfeited property at the time of the offense
   underlying the forfeiture superior to that of the defendant.

Please explain answer 2 or 3:
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SECTION III
Non-Owner Victim's Explanation of Loss

This section should be completed by victim petitioners only.

___ I am requesting remission of this forfeiture because I am a victim of the criminal offense
underlying the forfeiture of this property or am the victim of a related offense and I have suffered
a pecuniary loss as a result of the offense that resulted in the forfeiture.

In the space provide below, please explain how you are a victim of the criminal offense, or a
related offense, underlying the forfeiture of this property. Be as specific as possible and provide
details such as significant dates, names of individuals whom you dealt with, the amount of money
you claim to have lost (including specifics of the transactions resulting in the loss), and any other
information that you believe would be helpful in verifying your loss. Please attach documentation
of your loss (copies only), including receipts, invoices, bank statements, wire transfer
confirmation statements and cancelled checks, to your petition.

Do not attach your original documents to the petition.




Total Amount of Pecuniary Loss Claimed: __________________________________________


(Do not include collateral expenses such as attorney fees, investigative costs, lost wages.
Do not include non-pecuniary harms such as pain and suffering, emotional distress, etc.)
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SECTION IV

Petition for Mitigation of the Forfeiture

This section need be completed only by owner and lienholder petitioners seeking alternative relief to
complete remission of the property.

In the event that the Ruling Official determines that I do not qualify for remission of the property, I
hereby request mitigation of the forfeiture to avoid extreme hardship. In support of my request, I
would like the Ruling Official to consider the following extenuating circumstances:
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SECTION V

Declaration

The declaration must be completed by all petitioners unless the petitioner is represented by an
attorney. The attorney may complete the declaration if the petitioner completes the sworn notice of
representation below.

I understand that the information that I am providing in support of my petition will be relied upon
for purposes of determining my right to receive a petition award. I hereby declare under penalty
of perjury under the laws of the United States of America that I believe that the information I am
providing in support of my petition is true and correct. I further certify that any documents I have
submitted in support of my petition consist of unaltered copies of documents that are in my
possession.



Signature



Print Name



Date



Sworn Notice of Representation

This section must be completed only by petitioners who are represented by an attorney and whose
attorney has executed the declaration provided above.

I have retained the attorney who has completed the Declaration in Section V to represent me in
this matter. I have reviewed the foregoing petition and found that its contents are accurate to the
best of my information and belief. I declare under penalty of perjury that the foregoing
information is true and correct.



Signature


Print Name


Date


The completed original petition for remission and all supporting documentation must be
submitted to the United States Attorney for the judicial district in which the forfeiture
proceedings took place. A copy of the petition for remission should be submitted to the
seizing agency in the judicial district in which the seizure occurred.
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                      CODE OF FEDERAL REGULATIONS
                    TITLE 28--JUDICIAL ADMINISTRATION
                    CHAPTER I--DEPARTMENT OF JUSTICE
   PART 9--REGULATIONS GOVERNING THE REMISSION OR MITIGATION OF CIVIL
                        AND CRIMINAL FORFEITURES

§ 9.1 Authority, purpose, and scope.

§ 9.2 Definitions.

§ 9.3 Petitions in administrative forfeiture cases.

§ 9.4 Petitions in judicial forfeiture cases.

§ 9.5 Criteria governing administrative and judicial remission and mitigation.

§ 9.6 Special rules for specific petitioners.

§ 9.7 Terms and conditions of remission and mitigation.

§ 9.8 Provisions applicable to victims.

§ 9.9 Miscellaneous Provisions.

§ 9.1 Authority, purpose, and scope.

(a) Purpose. This part sets forth the procedures for agency officials to follow when considering
remission or mitigation of administrative forfeitures under the jurisdiction of the agency, and civil
judicial and criminal judicial forfeitures under the jurisdiction of the Criminal Division. The purpose of
the regulations in this part is to provide a basis for ameliorating the effects of forfeiture through the
partial or total remission of forfeiture for individuals who have an interest in the forfeited property but
who did not participate in, or have knowledge of, the conduct that resulted in the property being subject
to forfeiture and, where required, took all reasonable steps under the circumstances to ensure that such
property would not be used, acquired, or disposed of contrary to law. Additionally, the regulations
provide for partial or total mitigation of the forfeiture and imposition of alternative conditions in
appropriate circumstances.

(b) Authority to grant remission and mitigation.

 (1) Remission and mitigation functions in administrative forfeitures are performed by the agency seizing
the property. Within the Federal Bureau of Investigation, authority to grant remission and mitigation is
delegated to the Forfeiture Counsel, who is the Unit Chief, Legal Forfeiture Unit, Office of the General
Counsel; within the Drug Enforcement Administration, authority to grant remission and mitigation is
delegated to the Forfeiture Counsel, Office of Chief Counsel; and within the Immigration and
Naturalization Service, authority to grant remission and mitigation is delegated to the INS Regional
Directors.

 (2) Remission and mitigation functions in judicial cases are performed by the Criminal Division of the
Department of Justice. Within the Criminal Division, authority to grant remission and mitigation is
delegated to the Chief, Asset Forfeiture and Money Laundering Section, Criminal Division.
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 (3) The powers and responsibilities delegated by these regulations in this part may be redelegated to
attorneys or managers working under the supervision of the designated officials.

(c) The time periods and internal requirements established in this part are designed to guide the orderly
administration of the remission and mitigation process and are not intended to create rights or
entitlements in favor of individuals seeking remission or mitigation. The regulations will apply to all
decisions on petitions for remission or mitigation made on or after February 3, 1997. The regulations
will apply to decisions on requests for reconsideration of a denial of a petition under §§ 9.3(j) and 9.4(k)
only if the initial decision on the petition was made under the provisions of this part effective on
February 3, 1997.

(d) This part governs any petition for remission filed with the Attorney General and supersedes any
Department of Justice regulation governing petitions for remission, to the extent such regulation is
inconsistent with this part. In particular, this part supersedes the provisions of 21 CFR 1316.79 and
1316.80, which contain remission and mitigation procedures for property seized for narcotics violations.
The provisions of 8 CFR 274.13 through 274.19 and 28 CFR 8.10, which concern non-drug related
forfeitures, are also superseded by this part where those regulations relate to remission and mitigation.

§ 9.2 Definitions.

As used in this part:

(a) The term administrative forfeiture means the process by which property may be forfeited by an
investigative agency rather than through judicial proceedings.

(b) The term appraised value means the estimated market value of an asset at the time and place of
seizure if such or similar property was freely offered for sale between a willing seller and a willing buyer.

(c) The term Assets Forfeiture Fund means the Department of Justice Assets Forfeiture Fund or
Department of the Treasury Asset Forfeiture Fund, depending upon the identity of the seizing agency.

(d) The term Attorney General means the Attorney General of the United States or his or her designee.

(e) The term beneficial owner means a person with actual use of, as well as an interest in, the property
subject to forfeiture.

(f) The terms Chief, Asset Forfeiture and Money Laundering Section, and Chief, refer to the Chief of the
Asset Forfeiture and Money Laundering Section, Criminal Division, United States Department of Justice.

(g) The term general creditor means one whose claim or debt is not secured by a specific right to obtain
satisfaction against the particular property subject to forfeiture.

(h) The term judgment creditor means one who has obtained a judgment against the debtor but has not
yet received full satisfaction of the judgment.

(i) The term judicial forfeiture means either a civil or a criminal proceeding in a United States District
Court that may result in a final judgment and order of forfeiture.

(j) The term lienholder means a creditor whose claim or debt is secured by a specific right to obtain
satisfaction against the particular property subject to forfeiture. A lien creditor qualifies as a lienholder
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if the lien:

(1) Was established by operation of law or contract;

(2) Was created as a result of an exchange of money, goods, or services; and

 (3) Is perfected against the specific property forfeited for which remission or mitigation is sought (e.g.,
a real estate mortgage; a mechanic's lien).

(k) The term net equity means the amount of a lienholder's monetary interest in property subject to
forfeiture. Net equity shall be computed by determining the amount of unpaid principal and unpaid
interest at the time of seizure, and by adding to that sum unpaid interest calculated from the date of
seizure through the last full month prior to the date of the decision on the petition. Where a rate of
interest is set forth in a security agreement, the rate of interest to be used in this computation will be the
annual percentage rate so specified in the security agreement that is the basis of the lienholder's interest.
In this computation, however, there shall be no allowances for attorneys' fees, accelerated or enhanced
interest charges, amounts set by contract as damages, unearned extended warranty fees, insurance,
service contract charges incurred after the date of seizure, allowances for dealer's reserve, or any other
similar charges.

 (l) The term owner means the person in whom primary title is vested or whose interest is manifested by
the actual and beneficial use of the property, even though the title is vested in another. A victim of an
offense, as defined in paragraph (v) of this section, may also be an owner if he or she has a present
legally cognizable ownership interest in the property forfeited. A nominal owner of property will not be
treated as its true owner if he or she is not its beneficial owner.

(m) The term person means an individual, partnership, corporation, joint business enterprise, estate, or
other legal entity capable of owning property.

(n) The term petition means a petition for remission or mitigation of forfeiture under the regulations in
this part. This definition includes a petition for restoration of the proceeds of sale of forfeited property
and a petition for the value of forfeited property placed into official use.

(o) The term petitioner means the person applying for remission, mitigation, restoration of the proceeds
of sale, or for the appraised value of forfeited property, under the regulations in this part. A petitioner
may be an owner as defined in § 9.2(l), a lienholder as defined in § 9.2(j), or a victim as defined in §
9.2(v), subject to the limitations of § 9.8.

(p) The term property means real or personal property of any kind capable of being owned or possessed.

(q) The term record means a series of arrests for related crimes, unless the arrestee was acquitted or the
charges were dismissed for lack of evidence; a conviction for a related crime or completion of sentence
within ten years of the acquisition of the property subject to forfeiture; or two convictions for a related
crime at any time in the past.

(r) The term related crime as used in § 9.2(q) and § 9.6(e) means any crime similar in nature to that
which gives rise to the seizure of property for forfeiture. For example, where property is seized for a
violation of the federal laws relating to drugs, a related crime would be any offense involving a violation
of the federal laws relating to drugs or the laws of any state or political subdivision thereof relating to
drugs.
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(s) The term related offense as used in § 9.8 means:

 (1) Any predicate offense charged in a Federal Racketeer Influenced and Corrupt Organizations Act
(RICO) count for which forfeiture was ordered; or

(2) An offense committed as part of the same scheme or design, or pursuant to the same conspiracy, as
was involved in the offense for which forfeiture was ordered.

(t) The term Ruling Official means any official to whom decision making authority has been delegated
pursuant to § 9.1(b).

(u) The term seizing agency means the federal agency that seized the property or adopted the seizure of
another agency for federal forfeiture.

(v) The term victim means a person who has incurred a pecuniary loss as a direct result of the
commission of the offense underlying a forfeiture. A drug user is not considered a victim of a drug
trafficking offense under this definition. A victim does not include one who acquires a right to sue the
perpetrator of the criminal offense for any loss by assignment, subrogation inheritance, or otherwise form
the actual victim, unless that person has acquired an actual ownership interest in the forfeited property.

(w) The term violator means the person whose use or acquisition of the property in violation of the law
subjected such property to seizure for forfeiture.

§ 9.3 Petitions in administrative forfeiture cases.

(a) Notice of seizure. The notice of seizure and intent to forfeit the property shall advise any persons
who may have a present ownership interest in the property to submit their petitions for remission or
mitigation within thirty (30) days of the date they receive the notice in order to facilitate processing.
Petitions shall be considered any time after notice until the forfeited property is placed into official use,
sold, or otherwise disposed of according to law, except in cases involving petitions to restore the
proceeds from the sale of forfeited property. A notice of seizure shall include the title of the seizing
agency, the Ruling Official, the mailing and street address of the official to whom petitions should be
sent, and an asset identifier number.

(b) Persons who may file. A petition for remission or mitigation must be filed by a petitioner as defined
in § 9.2(o) or as prescribed in §§ 9.9(g) and (h).

(c) Contents of petition.

(1) All petitions must include the following information in clear and concise terms:

   (i) The name, address, and social security or other taxpayer identification number of the person
claiming an interest in the seized property who is seeking remission or mitigation;

  (ii) The name of the seizing agency, the asset identifier number, and the date and place of seizure;

  (iii) A complete description of the property, including make, model, and serial numbers, if any; and

  (iv) A description of the petitioner's interest in the property as owner, lienholder, or otherwise,
supported by original or certified bills of sale, contracts, deeds, mortgages, or other documentary
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evidence.

 (2) Any factual recitation or documentation of any type in a petition must be supported by a sworn
affidavit.

(d) Releases. In addition to the contents of the petition for remission or mitigation set forth in paragraph
(c) of this section, upon request, the petitioner shall also furnish the agency with an instrument executed
by the titled or registered owner and any other known claimant of an interest in the property releasing
interest in such property.

(e) Filing petition with agency.

 (1) A petition for remission or mitigation subject to administrative forfeiture shall be addressed to the
appropriate federal agency as follows:

  (i) Drug Enforcement Administration, Office of Chief Counsel, Street Address: 700 Army Navy
Drive, Arlington, VA 22202

Mailing Address: P.O. Box 28356, Washington, D.C. 20038.

  (ii) Federal Bureau of Investigation, Special Agent in Charge, Field Office that seized the property.

  (iii) Immigration and Naturalization Service District Director, Chief Patrol Agent, or Regional Asset
Forfeiture Office at location with jurisdiction over the forfeiture proceeding.

 (2) The petition is to be sent to the official address provided in the notice of seizure and shall be sworn
to by the petitioner or by the petitioner's attorney upon information and belief, supported by the client's
sworn notice of representation pursuant to 28 U.S.C. 1746, as set out in § 9.9(g). The Chief of the Asset
Forfeiture and Money Laundering Section is delegated authority to amend the address of the official to
whom petitions may be sent from time to time, as necessary, by publishing notice of the change of
address in the Federal Register. Failure to publish a notice of change of address in the Federal Register
shall not alter the authority of the Ruling Official to determine petitions for remission or mitigation nor
the obligation of a petitioner to file a petition at the address provided in the notice of seizure. Failure to
publish a notice of change of address in the Federal Register shall not be grounds for expanding the time
for filing a petition for remission or mitigation under the regulations in this part.

(f) Agency investigation. Upon receipt of a petition, the seizing agency shall investigate the merits of the
petition and prepare a written report containing the results of that investigation. This report shall be
submitted to the Ruling Official for review and consideration.

(g) Ruling. Upon receipt of the petition and the agency report, the Ruling Official for the seizing agency
shall review the petition and the report, and shall rule on the merits of the petition. No hearing shall be
held.

(h) Petitions granted. If the Ruling Official grants a remission or mitigation of the forfeiture, a copy of
the decision shall be mailed to the petitioner or, if represented by an attorney, to the petitioner's attorney.
A copy shall also be sent to the United States Marshals Service or other property custodian. The written
decision shall include the terms and conditions, if any, upon which the remission or mitigation is granted
and the procedures the petitioner must follow to obtain release of the property or the monetary interest
therein.
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(i) Petitions denied. If the Ruling Official denies a petition, a copy of the decision shall be mailed to the
petitioner or, if represented by an attorney, to the petitioner's attorney of record. A copy of the decision
shall also be sent to the United States Marshals Service or other property custodian. The decision shall
specify the reason that the petition was denied. The decision shall advise the petitioner that a request for
reconsideration of the denial of the petition may be submitted to the Ruling Official in accordance with
paragraph (j) of this section.

(j) Request for reconsideration.

(1) A request for reconsideration of the denial of the petition shall be considered if:

  (i) It is postmarked or received by the office of the Ruling Official within ten (10) days from the receipt
of the notice of denial of the petition by the petitioner; and

  (ii) The request is based on information or evidence not previously considered that is material to the
basis for the denial or presents a basis clearly demonstrating that the denial was erroneous.

 (2) In no event shall a request for reconsideration be decided by the same Ruling Official who ruled on
the original petition.

(3) Only one request for reconsideration of a denial of a petition shall be considered.

(k) Restoration of proceeds from sale.

 (1) A petition for restoration of the proceeds from the sale of forfeited property, or for the appraised
value of forfeited property when the forfeited property has been retained by or delivered to a government
agency for official use, may be submitted by an owner or lienholder in cases in which the petitioner:

 (i) Did not know of the seizure prior to the entry of a declaration of forfeiture; and

 (ii) Could not reasonably have known of the seizure prior to the entry of a declaration of forfeiture.

 (2) Such a petition shall be submitted pursuant to paragraphs (b) through (e) of this section within ninety
(90) days of the date the property is sold or otherwise disposed of.

§ 9.4 Petitions in judicial forfeiture cases.

(a) Notice of seizure. The notice of seizure and intent to forfeit the property shall advise any persons
who may have a present ownership interest in the property to submit their petitions for remission or
mitigation within thirty (30) days of the date they receive the notice in order to facilitate processing.
Petitions shall be considered any time after notice until such time as the forfeited property is placed in
official use, sold, or otherwise disposed of according to law, except in cases involving petitions to restore
property. A notice of seizure shall include the title of the Ruling Official and the mailing and street
address of the official to whom petitions should be sent, the name of the agency seizing the property, an
asset identifier number, and the district court docket number.

(b) Persons who may file. A petition for remission or mitigation must be filed by a petitioner as defined
in § 9.2(o) or as prescribed in §§ 9.9 (g) and (h).

(c) Contents of petition.
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(1) All petitions must include the following information in clear and concise terms:

  (i) The name, address, and social security or other taxpayer identification number of the person
claiming an interest in the seized property who is seeking remission or mitigation;

 (ii) The name of the seizing agency, the asset identifier number, and the date and place of seizure;

 (iii) The district court docket number;

  (iv) A complete description of the property, including the address or legal description of real property,
and make, model, and serial numbers of personal property, if any; and

  (v) A description of the petitioner's interest in the property as owner, lienholder, or otherwise,
supported by original or certified bills of sale, contracts, mortgages, deeds, or other documentary
evidence.

 (2) Any factual recitation or documentation of any type in a petition must be supported by a sworn
affidavit.

(d) Releases. In addition to the content of the petition for remission or mitigation set forth in paragraph
(c) of this section, the petitioner, upon request, also shall furnish the agency with an instrument executed
by the titled or registered owner and any other known claimant of an interest in the property releasing the
interest in such property.

(e) Filing petition with Department of Justice. A petition for remission or mitigation of a judicial
forfeiture shall be addressed to the Attorney General; shall be sworn to by the petitioner or by the
petitioner's attorney upon information and belief, supported by the client's sworn notice of representation
pursuant to 28 U.S.C. 1746, as set forth in § 9.9(g); and shall be submitted to the United States Attorney
for the district in which the judicial forfeiture proceedings are brought. A petitioner also shall submit a
copy of the petition to the seizing agency in the judicial district in which the seizure occurred as specified
in the notice of seizure, except in Drug Enforcement Administration cases, where the copy shall be
submitted to Drug Enforcement Administration Headquarters, Office of Chief Counsel, P.O. Box 28356,
Washington, D.C. 20038, or 700 Army Navy Drive, Arlington, VA 22202.

(f) Agency investigation and recommendation; United States Attorney's recommendation. Upon receipt
of a petition, the United States Attorney shall direct the seizing agency to investigate the merits of the
petition based on the information provided by the petitioner and the totality of the agency's investigation
of the underlying basis for forfeiture. The agency shall submit to the United States Attorney a report of
its investigation and its recommendation on whether the petition should be granted or denied. Upon
receipt of the agency's report and recommendation, the United States Attorney shall forward to the Chief,
Asset Forfeiture and Money Laundering Section, the petition, the seizing agency's report and
recommendation, and the United States Attorney's recommendation on whether the petition should be
granted or denied.

(g) Ruling. The Chief shall rule on the petition. No hearing shall be held. The Chief shall not rule on
any petition in any case in which similar petition has been administratively denied by the seizing agency
prior to the referral of the case to the United States Attorney for the institution of forfeiture proceedings.

(h) Petitions under Internal Revenue Service liquor laws. The Chief shall accept and consider petitions
submitted in judicial forfeiture proceedings under the Internal Revenue Service liquor laws only prior to
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the time a decree of forfeiture is entered. Thereafter, district courts have exclusive jurisdiction.

(i) Petitions granted. If the Chief grants a remission or mitigates the forfeiture, the Chief shall mail a
copy of the decision to the petitioner or, if represented by an attorney, to the petitioner's attorney, the
appropriate United States Attorney, the United States Marshals Service or other property custodian, and
the appropriate seizing agency. The written decision shall include the terms and conditions, if any, upon
which the remission or mitigation is granted and the procedures the petitioner must follow to obtain
release of the property or the monetary interest therein. The Chief shall advise the petitioner or the
petitioner's attorney to consult with the United States Attorney as to such terms and conditions. The
United States Attorney shall confer with the seizing agency regarding the release and shall coordinate
disposition of the property with that office and the United States Marshals Service or other property
custodian.

(j) Petitions denied. If the Chief denies a petition, a copy of that decision shall be mailed to the
petitioner, or if represented by an attorney, to the petitioner's attorney of record, to the appropriate United
States Attorney, the United States Marshals Service or other property custodian, and to the appropriate
seizing agency. The decision shall specify the reason that the petition was denied. The decision shall
advise the petitioner that a request for reconsideration of the denial of the petition may be submitted to
the Chief at the address provided in the decision, in accordance with paragraph (k) of this section.

(k) Request for reconsideration.

(1) A request for reconsideration of the denial shall be considered if:

  (i) It is postmarked or received by the Asset Forfeiture and Money Laundering Section at the address
contained in the decision denying the petition within ten (10) days from the receipt of the notice of denial
of the petition by the petitioner; and

  (ii) The request is based on information or evidence not previously considered that is material to the
basis for the denial or presents a basis clearly demonstrating that the denial was erroneous. A copy of the
request must be received by the appropriate United States Attorney within ten (10) days of the receipt of
the denial by the petitioner.

 (2) In no event shall a request for reconsideration be decided by the Ruling Official who ruled on the
original petition.

(3) Only one request for reconsideration of a denial of a petition shall be considered.

 (4) Upon receipt of the request for reconsideration of the denial of a petition, disposition of the property
will be delayed pending notice of the decision at the request of the Chief. If the United States Attorney
does not receive a copy of the request for reconsideration within the prescribed period, the deposition of
the property may proceed.

(l) Restoration of Proceeds from sale.

 (1) A petition for restoration of the proceeds from the sale of forfeited property, or for the appraised
value of forfeited property when the forfeited property has been retained by or delivered to a government
agency for official use, may be submitted by an owner or lienholder in cases in which the petitioner:

 (i) Did not know of the seizure prior to the entry of a final order of forfeiture; and
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 (ii) Could not reasonably have known of the seizure prior to the entry of a final order of forfeiture.

 (2) Such a petition must be submitted pursuant to paragraphs (b) through (e) of this section within ninety
(90) days of the date the property was sold or otherwise disposed of.

§ 9.5 Criteria governing administrative and judicial remission and mitigation.

(a) Remission.

(1) The Ruling Official shall not grant remission of a forfeiture unless the petitioner establishes that:

  (i) The petitioner has a valid, good faith, and legally cognizable interest in the seized property as owner
or lienholder as defined in this part; and

  (ii) The petitioner is innocent within the meaning of the innocent owner provisions of the applicable
civil forfeiture statute, is a bona fide purchaser for value without cause to believe that the property was
subject to forfeiture at the time of the purchase, or is one who held a legally cognizable interest in the
seized property at the time of the violation underlying the forfeiture superior to that of the defendant
within the meaning of the applicable criminal forfeiture statute, and is thereby entitled to recover his or
her interest in the forfeited property by statute. (If the applicable civil forfeiture statute contains no
innocent owner defense, the innocent owner provisions applicable to 21 U.S.C. 881(a)(4) shall apply.)
Unless otherwise provided by statute, in the case of petitioners who acquired their interest in the property
after the time of the violation underlying the forfeiture, the question of whether the petitioner had
knowledge of the violation shall be determined as of the point in time when the interest in the property
was acquired.

 (2) The knowledge and responsibilities of petitioner's representative, agent, or employee in paragraph
(a)(1)(ii) of this section are imputed to the petitioner where the representative, agent, or employee was
acting in the course of his or her employment and in furtherance of the petitioner's business.

 (3) The petitioner has the burden of establishing the basis for granting a petition for remission or
mitigation of forfeited property, a restoration of proceeds of sale or appraised value of forfeited property,
or a reconsideration of a denial of such a petition. Failure to provide information or documents and to
submit to interviews, as requested, may result in a denial of the petition.

 (4) The Ruling Official shall presume a valid forfeiture and shall not consider whether the evidence is
sufficient to support the forfeiture.

 (5) Willful, materially-false statements or information, made or furnished by the petitioner in support of
a petition for remission or mitigation of forfeited property, the restoration of proceeds or appraised value
of forfeited property, or the reconsideration of a denial of any such petition, shall be grounds for denial
of such petition and possible prosecution for the filing of false statements.

(b) Mitigation.

 (1) The Ruling Official may grant mitigation to a party not involved in the commission of the offense
underlying forfeiture:

  (i) Where the petitioner has not met the minimum conditions for remission, but the Ruling Official
finds that some relief should be granted to avoid extreme hardship, and that return of the property
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combined with imposition of monetary and/or other conditions of mitigation in lieu of a complete
forfeiture will promote the interest of justice and will not diminish the deterrent effect of the law.
Extenuating circumstances justifying such a finding include those circumstances that reduce the
responsibility of the petitioner for knowledge of the illegal activity, knowledge of the criminal record of a
user of the property, or failure to take reasonable steps to prevent the illegal use or acquisition by another
for some reason, such as a reasonable fear of reprisal; or

  (ii) Where the minimum standards for remission have been satisfied but the overall circumstances are
such that, in the opinion of the Ruling Official, complete relief is not warranted.

 (2) The Ruling Officials may in his or her discretion grant mitigation to a party involved in the
commission of the offense underlying the forfeiture where certain mitigating factors exist, including, but
not limited to: the lack of a prior record or evidence of similar criminal conduct; if the violation does
not include drug distribution, manufacturing, or importation, the fact that the violator has taken steps,
such as drug treatment, to prevent further criminal conduct; the fact that the violation was minimal and
was not part of a larger criminal scheme; the fact that the violator has cooperated with federal, state, or
local investigations relating to the criminal conduct underlying the forfeiture; or the fact that complete
forfeiture of an asset is not necessary to achieve the legitimate purposes of forfeiture.

 (3) Mitigation may take the form of a monetary condition or the imposition of other conditions relating
to the continued use of the property, and the return of the property, in addition to the imposition of any
other costs that would be chargeable as a condition to remission. This monetary condition is considered
as an item of cost payable by the petitioner, and shall be deposited into the Assets Forfeiture Fund as an
amount realized from forfeiture in accordance with the applicable statute. If the petitioner fails to accept
the Ruling Official's mitigation decision or any of its conditions, or fails to pay the monetary amount
within twenty (20) days of the receipt of the decision, the property shall be sold, and the monetary
amount imposed and other costs chargeable as a condition to mitigation shall be subtracted from the
proceeds of the sale before transmitting the remainder to the petitioner.

§ 9.6 Special rules for specific petitioners.

(a) General creditors. A general creditor may not be granted remission or mitigation of forfeiture unless
he or she otherwise qualifies as petitioner under this part.

(b) Rival claimants. If the beneficial owner of the forfeited property and the owner of a security interest
in the same property each files a petition, and if both petitions are found to be meritorious, the claims of
the beneficial owner shall take precedence.

(c) Voluntary bailments. A petitioner who allows another to use his or her property without cost, and
who is not in the business of lending money secured by property or of leasing or renting property for
profit, shall be granted remission or mitigation of forfeiture in accordance with the provisions of § 9.5.

(d) Lessors. A person engaged in the business of leasing or renting real or personal property on a long-
term basis with the right to sublease shall not be entitled to remission or mitigation of a forfeiture of such
property unless the lessor can demonstrate compliance with all the requirements of § 9.5.

(e) Straw owners. A petition by any person who has acquired a property interest recognizable under this
part, and who knew or had reason to believe that the interest was conveyed by the previous owner for the
purpose of circumventing seizure, forfeiture, or the regulations in this part, shall be denied. A petition by
a person who purchases or owns property for another who has a record for related crimes as defined in §
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9.2(r), or a petition by a lienholder who knows or has reason to believe that the purchaser or owner of
record is not the real purchaser or owner, shall be denied unless both the purchaser of record and the real
purchaser or owner meet the requirements of § 9.5.

(f) Judgment creditors.

(1) A judgment creditor will be recognized as a lienholder if:

 (i) The judgment was duly recorded before the seizure of the property for forfeiture;

  (ii) Under applicable state or other local law, the judgment constitutes a valid lien on the property that
attached to it before the seizure of the property for forfeiture; and

  (iii) The petitioner had no knowledge of the commission of any act or acts giving rise to the forfeiture
at the time the judgment became a lien on the forfeited property.

 (2) A judgment creditor will not be recognized as a lienholder if the property in question is not property
of which the judgment debtor is entitled to claim ownership under applicable state or other local law
(e.g., stolen property). A judgment creditor is entitled under this part to no more than the amount of the
judgment, exclusive of any interest, costs, or other fees including attorney's fees associated with the
action that led to the judgment or its collection.

 (3) A judgment creditor's lien must be registered in the district where the property is located if the
judgment was obtained outside the district.

§ 9.7 Terms and conditions of remission and mitigation.

(a) Owners.

 (1) An owner's interest in property that has been forfeited is represented by the property itself or by a
monetary interest equivalent to that interest at the time of seizure. Whether the property or a monetary
equivalent will be remitted to an owner shall be determined at the discretion of the Ruling Official.

 (2) If a civil judicial forfeiture action against the property is pending, release of the property must await
an appropriate court order.

 (3) Where the government sells or disposes of the property prior to the grant of the remission, the owner
shall receive the proceeds of that sale, less any costs incurred by the government in the sale. The Ruling
Official, at his or her discretion, may waive the deduction of costs and expenses incident to the forfeiture.

 (4) Where the owner does not comply with the conditions imposed upon release of the property by the
Ruling Official, the property shall be sold. Following the sale, the proceeds shall be used to pay all costs
of the forfeiture and disposition of the property, in addition to any monetary conditions imposed. The
remaining balance shall be paid to the owner.

(b) Lienholders.

 (1) When the forfeited property is to be retained for official use or transferred to a state or local law
enforcement agency or foreign government pursuant to law, and remission or mitigation has been granted
to a lienholder, the recipient of the property shall assure that:
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 (i) In the case of remission, the lien is satisfied as determined through the petition process; or

  (ii) In the case of mitigation, an amount equal to the net equity, less any monetary conditions imposed,
is paid to the lienholder prior to the release of the property to the recipient agency of foreign government.

 (2) When the forfeited property is not retained for official use or transferred to another agency or foreign
government pursuant to law, the lienholder shall be notified by the Ruling Official of the right to select
either of the following alternatives:

  (i) Return of property. The lienholder may obtain possession of the property after paying the United
States, through the Ruling Official, the costs and expenses incident to the forfeiture, the amount, if any,
by which the appraised value of the property exceeds the lienholder's net equity in the property, and any
amount specified in the Ruling Official's decision as a condition to remit the property. The Ruling
Official, at his or her discretion, may waive costs and expenses incident to the forfeiture. The Ruling
Official shall forward a copy of the decision, a memorandum of disposition, and the original releases to
the United States Marshals Service or other property custodian who shall thereafter release the property
to the lienholder; or

  (ii) Sale of Property and Payment to Lienholder. Subject to the provisions of § 9.9(a), upon sale of the
property, the lienholder may receive the payment of a monetary amount up to the sum of the lienholder's
net equity, less the expenses and costs incident to the forfeiture and sale of the property, and any other
monetary conditions imposed. The Ruling Official, at his or her discretion, may waive costs and
expenses incident to the forfeiture.

 (3) If the lienholder does not notify the Ruling Official of the selection of one of the two options set
forth in paragraph (b)(2) of this section within twenty (20) days of the receipt of notification, the Ruling
Official shall direct the United States Marshal or other property custodian to sell the property and pay the
lienholder an amount up to the net equity, less the costs and expenses incurred incident to the forfeiture
and sale, and any monetary conditions imposed. In the event a lienholder subsequently receives a
payment of any kind on the debt owed for which he or she received payment as a result of the granting of
remission or mitigation, the lienholder shall reimburse the Assets Forfeiture Fund to the extent of the
payment received.

 (4) Where the lienholder does not comply with the conditions imposed upon the release of the property,
the property shall be sold after forfeiture. From the proceeds of the sale, all costs incident to the
forfeiture and sale shall first be deducted, and the balance up to the net equity, less any monetary
conditions, shall be paid to the lienholder.

§ 9.8 Provisions applicable to victims.

The provisions of this section apply to victims of an offense underlying the forfeiture of property, or of a
related offense, who do not have a present ownership interest in the forfeited property (or, in the case of
multiple victims of an offense, who do not have a present ownership interest in the forfeited property that
is clearly superior to that of other petitioner victims). The provisions of this section apply only with respect
to property forfeited pursuant to statutes that explicitly authorize restoration or remission of forfeited
property to victims. Victims who have a superior present legally cognizable ownership interest in forfeited
property may file petitions, as other owners, subject to the regulations set forth in § 9.7(a). The claims of
such owner victims, like those of any other owners, shall have priority over the claims of any non-owner
victims whose claims are recognized pursuant to this section.
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(a) Qualification to file. A victim, as defined in § 9.2(v), of an offense that was the underlying basis for the
criminal, civil, or administrative forfeiture of specific property, or a victim of a related offense, may be
granted remission of the forfeiture of that property, if in addition to complying with the other applicable
provisions of § 9.8, the victim satisfactorily demonstrates that:

 (1) A pecuniary loss of a specific amount has been directly caused by the criminal offense, or related
offense, that was the underlying basis for the forfeiture, and that the loss is supported by documentary
evidence including invoices and receipts;

(2) The pecuniary loss is the direct result of the illegal acts and is not the result of otherwise lawful acts that
were committed in the course of a criminal offense;

 (3) The victim did not knowingly contribute to, participate in, benefit from, or act in a willfully blind manner
towards the commission of the offense, or related offense, that was the underlying basis of the forfeiture;

(4) The victim has not in fact been compensated for the wrongful loss of the property by the perpetrator or
others; and

 (5) The victim does not have recourse reasonably available to other assets from which to obtain
compensation for the wrongful loss of the property.

(b) Pecuniary loss. The amount of the pecuniary loss suffered by a victim for which remission may be
granted is limited to the fair market value of the property of which the victim was deprived as of the date of
the occurrence of the loss. No allowance shall be made for interest foregone or for collateral expenses
incurred to recover lost property or to seek other recompense.

(c) Torts. A tort associated with illegal activity that formed the basis for the forfeiture shall not be a basis
for remission, unless it constitutes the illegal activity itself, nor shall remission be granted for physical
injuries to a petitioner or for damage to a petitioner's property.

(d) Denial of petition. In the exercise of his or her discretion, the Ruling Official may decline to grant
remission where:

(1) There is substantial difficulty in calculating the pecuniary loss incurred by the victim or victims;

(2) The amount of the remission, if granted, would be small compared with the amount of expenses incurred
by the government in determining whether to grant remission; or

 (3) The total number of victims is large and the monetary amount of the remission so small as to make its
granting impractical.

(e) Pro rata basis. In granting remission to multiple victims pursuant to this section, the Ruling Official
should generally grant remission on a pro rata basis to recognized victims when petitions cannot be granted
in full due to the limited value of the forfeited property. However, the Ruling Official may consider, among
others, the following factors in establishing appropriate priorities in individual cases:

(1) The specificity and reliability of the evidence establishing a loss;

(2) The fact that a particular victim is suffering an extreme financial hardship;
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 (3) The fact that a particular victim has cooperated with the government in the investigation related to the
forfeiture or to a related persecution or civil action; and

 (4) In the case of petitions filed by multiple victims of related offenses, the fact that a particular victim is
a victim of the offense underlying the forfeiture.

(f) Reimbursement. Any petitioner granted remission pursuant to this part shall reimburse the Assets
Forfeiture Fund for the amount received to the extent the individual later receives compensation for the loss
of the property from any other source. The petitioner shall surrender the reimbursement upon payment from
any secondary source.

(g) Claims of financial institution regulatory agencies. In cases involving property forfeitable under 18
U.S.C. 981(a)(1)(C) or (a)(1)(D), the Ruling Official may decline to grant a petition filed by a petitioner in
whole or in part due to the lack of sufficient forfeitable funds to satisfy both the petition and claims of the
financial institution regulatory agencies pursuant to 18 U.S.C. 981(e)(3) or (7). Generally, claims of
financial institution regulatory agencies pursuant to 18 U.S.C. 981(e)(3) or (7) shall take priority over claims
of victims.

§ 9.9 Miscellaneous Provisions.

(a) Priority of payment. Except where otherwise provided in this part, costs incurred by the United States
Marshals Service and other agencies participating in the forfeiture that were incident to the forfeiture,
sale, or other disposition of the property shall be deducted from the amount available for remission or
mitigation. Such costs include, but are not limited to, court costs, storage costs, brokerage and other
sales-related costs, the amount of any liens and associated costs paid by the government on the property,
costs incurred in paying the ordinary and necessary expenses of a business seized for forfeiture, awards
for information as authorized by statute, expenses of trustees or other assistants pursuant to paragraph (c)
of this section, investigative or prosecutive costs specially incurred incident to the particular forfeiture,
and costs incurred incident to the processing of the petition(s) for remission or mitigation. The
remaining balance shall be available for remission or mitigation. The Ruling Official shall direct the
distribution of the remaining balance in the following order or priority, except that the Ruling Official
may exercise discretion in determining the priority between petitioners belonging to classes described in
paragraphs (a)(3) and (4) of this section in exceptional circumstances:

(1) Owners;

(2) Lienholders;

 (3) Federal financial institution regulatory agencies (pursuant to paragraph (e) of this section), not
constituting owners or lienholders; and

(4) Victims not constituting owners or lienholders (pursuant to § 9.8).

(b) Sale or disposition of property prior to ruling. If forfeited property has been sold or otherwise
disposed of prior to a ruling, the Ruling Official may grant relief in the form of a monetary amount. The
amount realized by the sale of the property is presumed to be the value of the property. Monetary relief
shall not be greater than the appraised value of the property at the time of seizure and shall not exceed the
amount realized from the sale or other disposition. The proceeds of the sale shall be distributed as
follows:
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 (1) Payment of the government's expenses incurred incident to the forfeiture and sale, including court
costs and storage charges, if any;

(2) Payment to the petitioner of an amount up to his or her interest in the property;

(3) Payment to the Assets Forfeiture Fund of all other costs and expenses incident to the forfeiture;

(4) In the case of victims, payment of any amount up to the amount of his or her loss; and

(5) Payment of the balance remaining, if any, to the Assets Forfeiture Fund.

(c) Trustees and other assistants. In the exercise of his or her discretion, the Ruling Official, with the
approval of the Asset Forfeiture and Money Laundering Section, may use the services of a trustee, other
government official, or appointed contractors to notify potential petitioners, process petitions, and make
recommendations to the Ruling Official on the distribution of property to petitioners. The expense for
such assistance shall be paid out of the forfeited funds.

(d) Other agencies of the United States. Where another agency of the United States is entitled to
remission or mitigation of forfeited assets because of an interest that is recognizable under this part or is
eligible for such transfer pursuant to 18 U.S.C. 981(e)(6), such agency shall request the transfer in
writing, in addition to complying with any applicable provisions of §§ 9.3 through 9.5. The decision to
make such transfer shall be made in writing by the Ruling Official.

(e) Financial institution regulatory agencies. A Ruling Official may direct the transfer of property under
18 U.S.C. 981(e) to certain federal financial institution regulatory agencies or an entity acting in their
behalf, upon receipt of a written request, in lieu of ruling on a petition for remission or mitigation.

(f) Transfers to foreign governments. A Ruling Official may decline to grant remission to any petitioner
other than an owner or lienholder so that forfeited assets may be transferred to a foreign government
pursuant to 18 U.S.C. 981(i)(1), 19 U.S.C. 1616a(c)(2), or 21 U.S.C. 881(e)(1)(E).

(g) Filing by attorneys.

 (1) A petition for remission or mitigation may be filed by a petitioner or by his or her attorney or legal
guardian. If an attorney files on behalf of the petitioner, the petition must include a signed and sworn
statement by the client-petitioner stating that:

 (i) The attorney has the authority to represent the petitioner in this proceeding;

 (ii) The petitioner has fully reviewed the petition; and

 (iii) The petition is truthful and accurate in every respect.

 (2) Verbal notification of representation is not acceptable. Responses and notification of rulings shall
not be sent to an attorney claiming to represent a petitioner unless a written notice of representation is
filed. No extensions of time shall be granted due to delays in submission of the notice of representation.

(h) Consolidated petitions. At the discretion of the Ruling Official in individual cases, a petition may be
filed by one petitioner on behalf of other petitioners, provided the petitions are based on similar
underlying facts, and the petitioner who files the petition has written authority to do so on behalf of the
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other petitioners. This authority must be either expressed in documents giving the petitioner the
authority to file petitions for remission, or reasonably implied from documents giving the petitioner
express authority to file claims or lawsuits related to the course of conduct in question on behalf of these
petitioners. An insurer or an administrator of an employee benefit plan, for example, which itself has
standing to file a petition as a "victim" within the meaning of § 9.2(v), may also file a petition on behalf
of its insured or plan beneficiaries for any claims they may have based on co-payments made to the
perpetrator of the offense underlying the forfeiture or the perpetrator of a "related offense" within the
meaning of § 9.2(s), if the authority to file claims or lawsuits is contained in the document or documents
establishing the plan. Where such a petition is filed, any amounts granted as a remission must be
transferred to the other petitioners, not the party filing the petition; although, in his or her discretion, the
Ruling Official may use the actual petitioner as an intermediary for transferring the amounts authorized
as a remission to the other petitioners.
